       Case: 12-57049, 12/13/2012, ID: 8437635, DktEntry: 24, Page 1 of 3




                                No. 12-57049

                     United States Court of Appeals
                          for the Ninth Circuit

                           Dorothy McKay et al.,

                                                  Plaintiffs-Appellants,

                                      v.

                     Sheriff Sandra Hutchens et al.,

                                                     Defendants-Appellees.


       On Appeal from the United States District Court for the
                    Central District of California


   Motion for Leave to File a Corrected Brief of Amicus Curiae of the
  International Law Enforcement Educators & Trainers Association,
 International Association of Law Enforcement Firearms Instructors,
                 Inc., and the Independence Institute


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                                       1
        Case: 12-57049, 12/13/2012, ID: 8437635, DktEntry: 24, Page 2 of 3




1. On December 6, 2012, prospective amici submitted a brief to this
Court, accompanied by a motion for leave to file an amicus brief.

2. The December 6 brief erroneously omitted the F.R.A.P. disclosure
statement that no parties had made a financial contribution towards
the preparation of the brief.

3. On December 12, 2012, prospective amici filed a corrected brief, via
ECF.

4. The only change in the brief was the addition of the appropriate
disclosure statement as a new paragraph at the end of the section
labeled “Statement Amici Interests.” In addition, the word count
disclosure following the brief was changed to reflect the new number of
words.

5. There were no other changes to brief, and the wording of all
substantive sections remains exactly the same as in the original
December 6 filing, with the exception of the addition of a one paragraph
disclosure statement.

WHEREFORE, the movants respectfully request that this Motion to for
leave to file the corrected brief be granted.



                        Respectfully submitted,



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                                        2
        Case: 12-57049, 12/13/2012, ID: 8437635, DktEntry: 24, Page 3 of 3




CERTIFICATE OF SERVICE


The undersigned, attorney of record of amici the International Law
Enforcement Educators & Trainers Association et al., hereby certifies
that on December 13, 2012, an identical electronic copy of the foregoing
motion for leave to file a corrected amicus brief form were uploaded to
the Court’s CM/ECF system, which will automatically generate and
send by electronic mail a Notice of Docket Activity to all registered
attorneys participating in the case. Such notice constitutes service on
those registered attorneys.

/s/ David B. Kopel                                              Dec. 13, 2012




                                        3
